                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                 VALDOSTA DIVISION

MICHAELA UNDERWOOD, et al. ,                               :
                                                           :
                  Plaintiffs,                              :
                                                           :
         v.                                                :         CASE NO: 7:21-cv-40 (WLS)
                                                           :
                                                           :
GENE SCARBROUGH, CLIFF
                                                           :
HENDERSON, ANTHONY
                                                           :
RAYMOND TRIPP, JR., CONNOR
                                                           :
BRENNEN SPURGEON, and AXON
                                                           :
ENTERPRISE, INC. of DE.,
                                                           :
                                                           :
           Defendants.
                                                           :
___________________________________

                                                     ORDER
         Presently before the Court is a joint Stipulation of Dismissal With Prejudice (Doc. 111)
(“Stipulation”) filed April 2, 2024. Therein, pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(ii), 1 The Parties, by stipulation, dismiss with prejudice, all claims against Axon
Enterprise, Inc. of DE (“Axon”). Defendant Axon filed an answer and joins in the Stipulation.
         For the purpose of completing the record, the Court acknowledges and ACCEPTS
The Parties’ Stipulation. The above action is DISMISSED, WITH PREJUDICE, as to
Defendant Axon. The Parties shall bear their own fees and costs. Plaintiffs’ claims against all
Defendants having now been resolved, the Clerk is DIRECTED to close this case.


         SO ORDERED, this 4th day of April 2024.

                                                      /s/ W. Louis Sands        _________
                                                      W. LOUIS SANDS, SR. JUDGE
                                                      UNITED STATES DISTRICT COURT




1 Fed. R. Civ. P. 41(a)(1)(A)(ii) provides that “[T]he Plaintiff may dismiss an action without a court order by

filing: . . . (ii) a stipulation of dismissal signed by all parties who have appeared.”

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